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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA                              :        CASE NO. 1:18-cr-00346
                                                      :
                                                      :        Assigned to: Judge Paul L. Friedman
                  v.                                  :
                                                      :
ABUL HUDA FAROUKI,                                    :
MAZEN FAROUKI,                                        :
and SALAH MAAROUF,                                    :
                                                      :
                           Defendants.                :

                            JOINT MOTION TO DISMISS INDICTMENT

         The United States of America, by and through undersigned counsel, and Defendants Abul

Huda Farouki, Mazen Farouki, and Salah Maarouf, by and through undersigned counsel,

respectfully request that this Court dismiss without prejudice the Indictment in the above-

captioned case pursuant to Federal Rule of Criminal Procedure 48. 1

         Rule 48 states that “[t]he government may, with leave of court, dismiss an indictment,

information, or complaint.” While the rule “could conceivably be read to allow for considerable

judicial involvement in the determination to dismiss criminal charges,” the D.C. Circuit has

recognized that the decisions to dismiss pending criminal charges “lie squarely within the ken of

prosecutorial discretion.” United States v. Fokker Services B.V., 818 F.3d 733, 742 (D.C. Cir.

2016). Rather, the “principal object of the leave of court requirement has been understood to be


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         This Court previously granted a motion by Anham FZCO, Anham USA, Inc., Financial Instrument and
Investment Corp. (doing business as American International Services (“AIS”), HII-Finance Corp, Tracks for
Logistics Services, LLC (“Tracks”), and UniTrans International, Inc. (“UniTrans”) (collectively, “Companies”), in
which they had moved to intervene “for the limited but critical purpose of protecting their attorney-client and work-
product privileges.” Unopposed Motion to Intervene at 1 (under seal). The resolution described below will leave
unresolved the Companies’ and Defendants’ claims of attorney-client privilege, attorney work product, and other
protections that are the subject of the Special Master process, but the Government will continue to handle materials
obtained in connection with this case as described in the parties’ Joint Status Report of November 4, 2019.
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a narrow one—to protect a defendant against prosecutorial harassment . . . when the Government

moves to dismiss an indictment over the defendant’s objection.” Id. (quoting Rinaldi v. United

States, 434 U.S. 22, 29 n.15 (1977)) (internal quotation marks omitted). “Although there is a

strong presumption in favor of dismissal without prejudice, the ultimate decision in that regard

depends upon the purpose sought to be achieved by the government and its effect on the

accused.” United States v. Pitts, 331 F.R.D. 199, 203 (D.D.C. 2019) (Sullivan, J.). Thus, the

Court’s review of a Rule 48 motion is “primarily to guard against the prospect that dismissal is

part of a scheme of ‘prosecutorial harassment’ of the defendant through repeated efforts to

bring—and then dismiss—charges.” Fokker Services B.V., 818 F.3d at 742.

         No such scheme of “prosecutorial harassment” exists here. Rather, the Government

seeks dismissal of the Indictment because it has entered into non-prosecution agreements with

each of the Defendants. 2

         For the foregoing reasons, the United States of America respectfully requests that this

Court dismiss the Indictment in the above-captioned matter without prejudice.


         Dated this 2nd day of December, 2019.

                                                           Respectfully submitted,

                                                              Robert A. Zink
                                                              Chief, Fraud Section
                                                              Criminal Division
                                                              United Sates Department of Justice


                                                      By: /s
                                                          James J. Gelber
                                                          VT Bar # 2775
                                                          Trial Attorney, Fraud Section

2
 If the Court requests, the parties will provide the substance of the agreements, or the agreements themselves, to the
Court.

                                                          2
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                                CERTIFICATE OF SERVICE



       I hereby certify that on the 2nd of December, 2019 I have served a copy of the Joint Motion

to Dismiss Indictment by electronic mail to:

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                                                    By:     /s/Anna Akopyan
